                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION



EIGHT MILE STYLE, LLC; MARTIN                         )
AFFILIATED, LLC,                                      )
                                                      )
         Plaintiffs,                                  )
                                                      )
v.                                                    )
                                                      )
SPOTIFY USA INC.; HARRY FOX                           )
AGENCY, LLC,                                          )
                                                      )
      Defendant.                                      )
__________________________________________                           Case No. 3:19-cv-00736
                                                                     Judge Trauger/Frensley

SPOTIFY USA, INC.,                                    )
                                                      )
         Third-Party Plaintiff,                       )
                                                      )
v.                                                    )
                                                      )
KOBALT MUSIC PUBLISHING                               )
AMERICA, INC.                                         )
                                                      )
         Third-Party Defendant.                       )



                                              ORDER

                                       I. INTRODUCTION

         Plaintiffs Eight Mile Style, LLC and Martin Affiliated, LLC (collectively, “Plaintiffs”)

filed this lawsuit against Defendants Spotify USA, Inc. (“Spotify”) and The Harry Fox Agency,

LLC (“HFA”) alleging that Spotify committed copyright infringement by reproducing and

distributing 243 compositions in the United States without obtaining valid mechanical licenses to

do so, and that HFA assisted the alleged infringement. Docket No. 97 (First Amended




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Complaint), p. 44-48. Spotify and HFA have denied the relevant accusations. Docket No. 129.

Spotify in turn brought suit against third-party Defendant Kobalt Music Publishing America, Inc.

(“Kobalt”), asserting that Kobalt agreed to “indemnify Spotify for claims by any third party

(such as Eight Mile) alleging that Spotify infringed the third party’s rights.” Docket No. 91, p. 2;

see Docket No. 93.

        This matter is now before the Court upon Spotify’s Motion for a Protective Order Barring

the Deposition of Daniel Ek. Docket No. 221. Spotify has also filed a Supporting Memorandum

and other supporting documents. Docket Nos. 222, 222-1 through 222-16. Plaintiffs have filed a

Response in Opposition and supporting documents. Docket Nos. 223, 223-1 through 223-34.

Spotify has filed a Reply and additional supporting documents. Docket Nos. 228, 228-1 through

228-8. For the reasons set forth below, Spotify’s Motion (Docket No. 221) is DENIED.

                                     II. LAW AND ANALYSIS

A. Discovery Requests and Protective Orders

        Discovery in federal court is governed by the Federal Rules of Civil Procedure, which

provide that a party may obtain discovery as long as the information sought is within the proper

scope. Fed. R. Civ. P. 34(a); see also Fed. R. Civ. P. 26(b)(1). Rule 30 provides that “[a] party

may, by oral questions, depose any person, including a party, without leave of court.” Fed. R.

Civ. P. 30(a)(1). In general, the scope of discovery extends to nonprivileged information that is

relevant to any party’s claim or defense, regardless of whether the information sought is

admissible, that is “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). The Rules

were amended, effective December 1, 2015, in part to address the alleged costs and abuses

attendant to discovery. Under Rule 26, “[t]here is now a specific duty for the court and the

parties to consider discovery in the light of its ‘proportional[ity] to the needs of the case . . . .’”



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Turner v. Chrysler Grp. LLC, No. 3:14-1747, 2016 WL 323748, 2016 U.S. Dist. LEXIS 11133,

at *2, (M.D. Tenn. Jan. 27, 2016), quoting Fed. R. Civ. P. 26(b)(1). The following factors are

relevant to a consideration of whether the scope of discovery is proportional:

               (1) the importance of the issues at stake in the action,
               (2) the amount in controversy,
               (3) the parties’ relative access to relevant information,
               (4) the parties’ resources,
               (5) the importance of the discovery in resolving the issues, and
               (6) whether the burden or expense of the proposed discovery
               outweighs its likely benefit.

Fed. R. Civ. P. 26(b)(1) (numbering added). “Nevertheless, the scope of discovery is, of course,

within the broad discretion of the trial court.” United States v. Carell, No. 3:09-0445, 2011 U.S.

Dist. LEXIS 57435 at *5 (M.D. Tenn. May 26, 2011), quoting Lewis v. ACB Bus. Servs., Inc.,

135 F.3d 389, 402 (6th Cir. 1998) (internal quotation marks omitted).

       A motion for a protective order is available to “a party or any person from whom discovery

is sought.” Fed. R. Civ. P. 26(c). The court may “issue an order to protect a party or person from

annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).

Good cause for the issuance of a protective order is established with “specific facts showing

‘clearly defined and serious injury’ resulting from the discovery sought and cannot rely on merely

conclusory statements.” Nix v. Sword, 11 F. App’x 498, 500 (6th Cir 2001) quoting Avirgan v.

Hull, 118 F.R.D. 252, 254 (D.D.C. 1987).

       The Court has the authority under Rule 26(b)(2)(C) to limit the frequency or the extent of

discovery otherwise allowed by the rules. The Sixth Circuit has observed that “the desire to

allow broad discovery is not without limits and the trial court is given wide discretion in

balancing the needs and rights of both plaintiff and defendant.” Surles v. Greyhound Lines, Inc.,

474 F. 3d 288, 305 (6th Cir. 2007), quoting Scales v. J. C. Bradford, 925 F. 2d 901, 906 (6th Cir.


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1996). As to the judge’s role in discovery disputes, “[t]he revisions in Rule 26(b)(2) are intended

to provide the court with broader discretion to impose additional restrictions on the scope and

extent of discovery.” Surles, 474 F. 3d at 305. That sentiment has continued through subsequent

revisions to Rule 26 including the most recent ones.

       The Court also possesses inherent authority to manage litigation. As noted by the First

Circuit, “[a]s lawyers became more adept in utilizing the liberalized rules . . . [t]he bench began

to use its inherent powers to take a more active, hands on approach to the management of

pending litigation.” In re San Juan DuPont Plaza Hotel Fire Litigation, 859 F. 2d 1007, 1011

(1st Cir. 1988). “The judiciary is ‘free, within reason to exercise this inherent judicial power in

flexible pragmatic ways.’” Id. at 1011, n.2, quoting HMG Property Investors, Inc. v. Parque

Indus. Rio Canas, Ins., 847 F. 2d 908, 916 (1st Cir. 1988).

B. Spotify’s Motion

       Spotify seeks a protective order barring the deposition of Daniel Ek, Spotify’s President

and the Chairman and Chief Executive Officer of Spotify AB, Spotify’s Swedish corporate

parent company. Docket No. 222, p. 1. Spotify contends that such a protective order is

warranted because Mr. Ek lacks personal knowledge of the issues in this case, deposing Mr. Ek

would result in annoyance, harassment, and undue burden and expense and testimony on the

topics that Plaintiffs have identified is available from other witnesses. Id. at 10-17.

       As set forth above, a party may obtain discovery of nonprivileged information that is

relevant to any party’s claim or defense, as long as it is proportional to the needs of the case.

Fed. R. Civ. P. 26(b)(1). The Court may issue a protective order prohibiting the discovery of

even relevant and proportional information to protect against annoyance, embarrassment,

oppression, or undue burden or expense if the person from whom the discovery is sought



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provides specific facts showing clearly defined and serious injury resulting from the discovery

sought. Fed. R. Civ. P. 26(c)(1); Nix, 11 F. App’x at 500. Therefore, the Court’s inquiry begins

with determining whether the information sought is relevant and proportional, and then moves to

whether Spotify has shown good cause for a protective order.

        1. Relevance

        Plaintiffs contend that “Mr. Ek’s testimony[] directly bears on the heart of Plaintiffs’

copyright infringement claim for the period of time which Mr. Ek has publicly stated to have

been directly involved with Spotify’s launch in the United States.” Docket No. 223, p. 7.

Plaintiffs refer to “countless publicly available sources where Mr. Ek represented or at least

strongly intoned [sic] both playing a pivotal role in bringing Spotify to the United States and

negotiating the requisite licenses” and argue that they are entitled to ask Mr. Ek about some of

his public statements regarding that time in Spotify’s history. Id. at 15-16. Plaintiffs also assert

that Mr. Ek is likely to have relevant information regarding Spotify’s relationship with HFA,

despite his Declaration disclaiming discussions with HFA or a role in Spotify’s decision to

engage HFA. Id. at 16. Plaintiffs describe Mr. Ek’s Declaration as “surgical” in this regard,

asserting that:

                  Mr. Ek does not say that he lacks personal knowledge about HFA’s
                  efforts to secure mechanical licenses. He also does not disclaim:
                  knowledge of HFA’s ability (or lack thereof) to timely serve NOIs;
                  knowledge that his employees at Spotify specifically instructed
                  HFA from the very beginning to send NOIs well after the date of
                  first distribution; knowledge of HFA’s rate of matching sound
                  recordings to the underlying compositions and whether HFA’s
                  competitors were more successful; and whether publishers were
                  dissatisfied with the HFA process. 1 Indeed, Mr. Ek received an
                  email from a publisher representing over 200 million plays looking
                  to directly license with Spotify “instead of having to go through


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  “NOIs” are Notices of Intention to Obtain Compulsory License. They must be sent out within
thirty days of first distribution to be effective under the law. See 17 U.S.C. § 115(b).
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               the Harry Fox Agency.” Doc. No. 222-14. It is entirely feasible,
               therefore, that Mr. Ek has direct, personal knowledge that U.S.-
               based music publishers were dissatisfied with HFA’s role in
               mechanical licensing.

Id. at 16, quoting Docket No. 222-14. Plaintiffs further contend that Mr. Ek’s testimony “will

bear weight on whether Spotify’s later conduct in its efforts to match sound recordings to their

underlying musical compositions was commercially reasonable under the Music Modernization

Act [“MMA”] . . . .” Id. at 7. Plaintiffs maintain that “[t]hese facts also directly pertain to

whether Spotify’s continued relationship with HFA was commercially reasonable under the

MMA” and that it is “inconceivable that Mr. Ek did not know about [issues matching sound

recordings to the musical compositions on Spotify].” Id. at 16-17. Plaintiffs argue that “Spotify

had to know at launch that HFA was incapable of this matching process, and if it did not know at

launch, certainly knew when faced with a potential lawsuit and settlement with the National

Music Publishers Association, class action lawsuits, and a rash of individual lawsuits, yet Spotify

has continued with HFA as its licensing agent.” Id. at 16. Specifically, Plaintiffs seek Mr. Ek’s

testimony regarding topics including:

               [F]acts relevant relating to [sic] the creation of Spotify, first mover
               advantage, licensing practices at that time and shortly after
               inception, the relationship between Spotify and HFA, efforts to
               license, including NOI’s [sic] immediately following inception and
               thereafter, MMA compliance, accounting policies, and software
               and policies implemented to assist in composition matching.

Docket No. 222-6, p. 3; see Docket No. 222, p. 11.

       Spotify denies that Mr. Ek can provide any relevant information, arguing that “Eight

Mile’s pursuit of Mr. Ek ignores the fact that he is not directly involved in Spotify’s day-to-day

licensing practices, let alone its U.S. mechanical-licensing practices in particular.” Docket No.

222, p. 6, citing Docket No. 222-9, p. 3. Spotify also cites the Declaration of James Duffett-



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Smith, which states that while Mr. Duffett-Smith was “involved in overseeing Spotify’s U.S.

mechanical licensing, including in advance of Spotify’s July 14, 2011 U.S. launch,” “Mr. Ek was

not directly involved in Spotify’s U.S. mechanical licensing at launch, or for the remainder of

[Mr. Duffett-Smith’s] tenure at the company, including with respect to Spotify’s engagement of

HFA as its mechanical rights administrator.” Docket No. 222, p. 7, quoting Docket No. 222-10

(Declaration of James Duffett-Smith), p. 3-4 (emphasis added in brief).

        Spotify maintains that Mr. Ek’s high-level executive role involves providing “general

direction to the company as a whole” and that he “does not play an active role in Spotify’s efforts

to license musical compositions or distribute and account for related royalties.” Docket No. 222,

p. 11, citing Docket No. 222-9, p. 3-4. Further, Spotify relies on Mr. Duffett-Smith’s

Declaration as further evidence of this point: “[t]o the best of [Mr. Duffett-Smith’s] knowledge

and recollection, Mr. Ek was not directly involved in Spotify’s mechanical licensing at or after

the launch,” and that although Mr. Ek and Mr. Duffett-Smith worked closely together, “Mr.

Duffett-Smith never discussed mechanical licensing with Mr. Ek.” Docket No. 222-10, p. 3;

Docket No. 222, p. 12 (emphasis in original).

        Additionally, Spotify asserts that “[n]othing in the voluminous record established to date

remotely suggests that Mr. Ek possesses discoverable information regarding either the settlement

or direct license agreements executed by Kobalt.” 2 Docket No. 222, p. 12, citing Docket No.

222-13, p. 3. Spotify describes the email that Plaintiffs reference as “one ‘cold’ communication”




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 Plaintiffs characterize this argument as “a straw man,” asserting that “[n]ever have Plaintiffs
suggested that Mr. Ek has information about the Kobalt License nor that they intended to
question him on it, because the Kobalt license [sic] is obviously inapplicable to the [Eight Mile
Style] Compositions.” Docket No. 223, p. 13.
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that Mr. Ek “forwarded . . . to another employee without adding any commentary.” Id. at 13,

citing Docket No. 222-14.

       Under the broad definition of relevance for the purposes of discovery, the Court finds that

Plaintiffs have established the relevance of the information that they seek from Mr. Ek to the

claims and defenses of this case, including Plaintiffs’ allegations that “Spotify’s apparent

business model from the outset was to commit willful copyright infringement first, ask questions

later, and try to settle on the cheap when inevitably sued,” and that Spotify, acting through HFA,

knowingly established a system of sending untimely and ineffective NOIs. Docket No. 97

(Amended Complaint), p. 5, 8. To the extent that Mr. Ek had no involvement in securing

mechanical licenses, as he declares, Plaintiffs want to ask him why he and Spotify “made no

direct attempt to secure mechanical license agreements that would allow the underlying musical

compositions to stream rather than outsourcing that obligation to HFA (Spotify needed both).”

Docket No. 223, p. 4. While Spotify argues that Plaintiffs offer only “speculation about what

Mr. Ek may have known,” which is “no substitute for record evidence,” the broad standard for

relevance in discovery does not require that Plaintiffs have evidence of the evidence that they

seek. T.C. ex rel. S.C. v. Metro. Gov’t of Nashville & Davidson Cty, 2018 WL 3348728, 2018

U.S. Dist. LEXIS 113517, at *17 (M.D. Tenn. July 9, 2018). Plaintiffs must necessarily

speculate as to what Mr. Ek may have known before they have a chance to ask him.

       As to Spotify’s argument that, regardless of Mr. Ek’s personal knowledge or lack thereof,

Spotify’s selection of HFA and United States launch in 2011 are irrelevant to this lawsuit

because the launch “took place outside the three-year statute of limitations for [Plaintiffs’]

claims,” the Court finds that while issues related to an applicable statute of limitations might be

relevant to determining the proportionality of discovery, there is no bright-line rule confining



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discovery to the limitations period. See Fed. R. Civ. P. 26(b)(1). Instead, “[r]elevance for

purposes of discovery is broadly construed, and the information sought need not be admissible to

be discoverable.” See T.C. ex rel. S.C., 2018 U.S. Dist. LEXIS 113517, at *17.

       Further, the Court finds that the current bifurcation of discovery into two phases (liability

and MMA; then damages) does not preclude Plaintiffs from deposing Mr. Ek during this phase,

as they “seek to depose Mr. Ek on his conduct in and around bringing Spotify to the United

States – i.e.[,] conduct and events that directly speak to liability and the MMA – regardless of

whether Mr. Ek acted willfully or not.” Docket No. 223, p. 25. Nevertheless, in recognition of

Mr. Ek’s Declaration, in which he disclaims virtually all personal knowledge of the subject

matter of this case, the Court will put some restrictions on the parameters of his deposition, as

further described below.

       2. Proportionality

       Spotify contends that Eight Mile should not be allowed to depose Mr. Ek “for the

additional reason that the information it seeks could be obtained from other witnesses whom

Spotify has already made available or whom Spotify has agreed to make available upon

reasonable request.” Docket No. 222, p. 15. This is essentially an argument that the discovery

sought is not proportional to the needs of the case because it is available from another more

convenient source. See Fed. R. Civ. P. 26(b)(2)(C)(i). Spotify identifies the following

individuals as those potentially able to supply the information that Plaintiffs seek: Adam Parness

(former Global Head of Publishing), Lisa Selden (current Global Head of Publishing Operations,

Lucy Bridgwood (Associate General Counsel for Global Publishing Licensing), Donny Kanner

(a Program Manager in Publishing Operations), and especially James Duffett-Smith (former

Head of Licensing Business Affairs) (described by Spotify as “[o]ne of the employees who did



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oversee mechanical licensing in connection with Spotify’s launch in the United States, including

the selection of HFA”). Docket No. 222, p. 12, 16. Spotify argues that “[i]f Eight Mile truly

sought information relevant to its case, and was not on a mission to harass and annoy Spotify’s

Chairman and CEO, it would have first deposed these witnesses before pursuing Mr. Ek’s

deposition and would have sought to elicit testimony about Mr. Ek during the depositions that

have taken place.” Id. at 16-17.

        Citing Judge McCalla’s decision in the Bluewater case, Plaintiffs maintain that “[f]or the

topics Plaintiffs intend to ask, only Mr. Ek is qualified to testify . . . .” Docket No. 223, p. 17.

Plaintiffs assert that:

                No one else can explain Mr. Ek’s decision to rigorously negotiate
                agreements with record labels while passing the buck on musical
                compositions and purportedly being hands-off with regard to HFA.
                No one else can testify as to whether Mr. Ek knew from the outset
                that HFA was not up to the task of securing mechanical licenses at
                the scale Spotify required, and thus was not a commercially
                reasonable vendor.

Id.

        As to the individuals suggested by Spotify, Plaintiffs argue that they are not appropriate

substitutes for Mr. Ek. Plaintiffs note that Mr. Parness, Ms. Selsen, and Ms. Bridgwood all

joined Spotify well after its launch in the United States. Id. at 18-20. Additionally, Plaintiffs

maintain that each of the proposed individuals would be an inadequate substitute for various

reasons. Plaintiffs assert that “given that he was not designated as a 30(b)(6) witness, and was

not employed in 2011, Mr. Parness would not have been able to testify about the information

Plaintiffs seek from Ek.” Id. at 19. Regarding Ms. Bridgwood, Plaintiffs contend that she was

not designated for the topics they want to discuss with Mr. Ek, and that because she is currently

in-house counsel for Spotify, “conducting Ms. Bridgwood’s [deposition] involved a vast number



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[of] attorney-client privilege issues.” Id. at 18. Also, Plaintiffs assert that “because Spotify’s

counsel would only let the witness answer questions regarding external communications,

Plaintiffs were not able to ask Ms. Bridgwood if there were internal discussions at Spotify about

any other vendor aside from HFA or MRI.” Id. at 19 (footnote omitted).

        Plaintiffs assert that there was not enough time left in Mr. Kanner’s deposition after

Kobalt’s counsel finished for Plaintiffs to meaningfully examine him, and that Spotify’s counsel

“routinely objected [to] scope, putting objections-after-objections on the record eating up the

precious little time in the 7-hour time limit remaining for the non-noticing party.” Id. at 20. As

to Lisa Selden, Plaintiffs maintain that they did “meaningfully examine Ms. Selden regarding

Spotify’s relationship with HFA,” but that “[d]espite Spotify’s apparent assertion that Ms. Selden

is prepared to discuss licensing at Spotify’s U.S. Launch, Ms. Selden expressly stated: ‘I’m not a

lawyer. I can’t comment on licensing.” Id., citing Docket No. 223-33.

        Regarding Mr. Duffett-Smith, Plaintiffs argue that he is not a substitute for Mr. Ek

because “Mr. Duffett-Smith was in-house counsel during the relevant time frame and cannot

know everything relevant that Mr. Ek knows.” Docket No. 223, p. 17. Further, due to his role as

Spotify’s in-house counsel, Plaintiffs contend that “Mr. Duffett-Smith’s ability to testify about

the relevant time fame will necessarily involve working through complex issues of attorney-

client privilege and not alleviate Plaintiff’s [sic] need to depose Mr. Ek.” Id. 3



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  The Parties agree that Kobalt previously scheduled Mr. Duffet-Smith’s deposition but
subsequently decided not to conduct it. See Docket No. 223, p. 9-10. According to Spotify,
“Eight Mile declined to proceed as well—despite Spotify’s counsel specifically informing Eight
Mile’s counsel of Mr. Duffett-Smith’s involvement with U.S. mechanical-licensing issues in the
run up to and after Spotify’s launch in the United States.” Docket No. 222, p. 12. Spotify
maintains that under the circumstances, Plaintiffs’ failure to depose Mr. Duffett-Smith
demonstrates that Plaintiffs’ true motive is to harass and annoy Mr. Ek, not to obtain the
information that they claim to seek. Docket No. 222, p. 12-14. Plaintiffs respond that this
decision was based solely on the fact that they were “not prepared, on one days’ [sic] notice, to
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       The Court finds that Spotify has not established that the testimony of any of these

individuals is a complete and appropriate substitute for that of Mr. Ek such that the information

sought from him could clearly be obtained from a more convenient source. None of them appear

to have access to the exact same information as Mr. Ek, in part because (aside from Mr. Duffett-

Smith), none of them were with the company at the time of Spotify’s U.S. launch. The role of

Ms. Bridgwood and Mr. Duffett-Smith as attorneys for Spotify also complicates their ability to

answer questions without violating attorney-client privilege. And although Spotify argues that

the same privilege issues would be present in Mr. Ek’s deposition because “if he had any

knowledge on the topic [of mechanical licensing in the United States]—he does not—he would

have obtained it through conversations with in-house counsel,” it is not clear from the evidence

before the Court that Mr. Ek’s knowledge on this or any other relevant topic is identical to that of

his lawyers. Docket No. 228, p. 11.

       Further, under very similar circumstances, Judge McCalla has already addressed the issue

of whether the testimony of another Spotify employee can be substituted for that of Mr. Ek,

finding that:

                Based on the organizational charts, the briefing on the issue, and
                discussion during the status conferences, it appears that the only
                person at the Defendant corporation who can fully respond to
                Plaintiffs’ inquiries, particularly as to the Defendant’s overall
                licensing strategy during the applicable time frame, is Daniel Ek.

                                                ...




go forward after Kobalt cancelled Mr. Duffett-Smith’s deposition. Docket No. 223, p. 17.
While the Court does find Plaintiffs’ decision to be somewhat curious (surely they were
prepared, one day before the scheduled deposition, to ask at least some questions), it does not
find that this is evidence of bad faith in seeking to depose Mr. Ek. For the reasons explained
herein, Plaintiffs are not required to exhaust all other funds of knowledge before seeking to
depose Mr. Ek.
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               The 2011 and 2013 organizational charts suggest that only two
               persons fall within the Spotify organization at an executive level
               sufficient to provide the testimony that Plaintiffs appropriately
               seek—Daniel Ek and Kenneth Parks. Only Ek avoids the problem
               of the complexities of the attorney-client privilege and has the
               decision-making authority to speak authoritatively on the subjects
               designated by Plaintiffs in the cases now pending before the Court.

Bluewater Music Servs. Corp., et al. v. Spotify USA Inc., Case No. 3:17-cv-01051, Docket No.

299, p. 2-3 (M.D. Tenn. Apr. 23, 2019).

       3. Annoyance, Embarrassment, Oppression, Undue Burden or Expense

       Spotify maintains that “[t]he context of this discovery dispute makes it abundantly clear

that Eight Mile does not seek Mr. Ek’s deposition for any reason other than to harass and annoy

him and to burden Spotify in this litigation.” Docket No. 222, p. 13-14. As evidence for this

proposition, Spotify cites the fact that Plaintiffs did not request that Mr. Ek be a document

custodian and asserts that “none of the 15 witnesses deposed to date—over the course of 23 days

of testimony—has remotely suggested that Mr. Ek has knowledge relevant to this case . . . .” Id.

at 2, 13-14. Spotify cites the “significant time” that Mr. Ek spends “preparing for, traveling to,

and participating in meetings with Spotify’s leadership, business partners, employees, and other

stakeholders,” and points to specific “meetings and events scheduled in February (when the

company releases its year-end financials) and March . . . .” Id. at 14.

       Much of Spotify’s argument regarding annoyance, embarrassment, oppression, undue

burden or expense rests on the theory that depositions of high-level executives presumptively

create undue burden and other harms. See Docket No. 222, p. 8-11, 14 (“In addition, Mr. Ek

leads a corporate entity with a global reach, serving hundreds of millions of customers across

184 geographic markets. Requiring him to set aside hours to prepare and sit for a deposition

necessarily causes him annoyance, results in inconvenience to both him and Spotify, and



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subjects him and the company to undue burden.”) (emphasis added). Quoting a case from the

Eleventh Circuit, Spotify contends that “[w]hen parties do not attempt to first obtain information

from lower-level employees with more direct knowledge of the facts, deposing a high-ranking

executive is improper.” Docket No. 222, p. 19 (internal quotation marks omitted). Yet, as

Plaintiffs point out (and as Spotify acknowledges, while citing out-of-Circuit cases that embrace

a different theory), the Sixth Circuit has not adopted the “apex” doctrine, in which executives at

the highest corporate levels are presumed to be protected from deposition unless they are shown

to have unique personal knowledge to which no other employee can testify. See Serrano v.

Cintas Corp., 699 F.3d 884, 901 (6th Cir. 2012). Instead, in this Circuit, depositions of high-

level executives are addressed the same as any other potential witness: by examining relevance,

proportionality, and (where a protective order is sought), whether there are specific facts

showing that the deposition would lead to a clearly defined and serious injury. 4 Id.

        The Court is inclined to agree with Plaintiffs that “Mr. Ek’s entire argument for burden

is, essentially, that he is busy.” Docket No. 223, p. 21. Due to the passage of time, the year-end

financials and their attendant February meetings have passed, along with the planned events of

March. Undoubtedly Mr. Ek has a full schedule at the present time as well; the Court credits

Spotify’s assertion that he is very busy indeed. Yet, the issue of proper licensing relationships

with the artists whose work comprises the entirety of Spotify’s business and its sole product is

surely also a matter of importance to Spotify, worthy of some of Mr. Ek’s time and attention.



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 The present issue of Mr. Ek’s deposition is distinguishable from this Court’s prior holding in
Fox v. Amazon. 2017 WL 9476870, at *2 (M.D. Tenn. Sept. 21, 2017). The crux of the case in
Fox was the sale of one item (of which Amazon was not the actual seller, but merely the online
vendor) and there were no allegations that the sale of defective products was a core part of
Amazon’s business plan and strategy from its founding. Here, Plaintiffs allege that failure to
properly secure mechanical licenses is and has always been the underlying strategy and practice
of Spotify’s entire business. See Docket No. 97.
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       Further, interruption to Mr. Ek’s schedule can be minimized by conducting his deposition

remotely and limiting its duration. Plaintiffs have “committed” to conducting the deposition “in

less than a full day” and “believe that they can ask Mr. Ek about the topics about which only he

has knowledge in approximately three to four hours on the record.” Docket No. 223, p. 22.

         For these reasons, the Court finds that Spotify has not established that the deposition of

Mr. Ek would cause embarrassment, oppression, or undue burden or expense. Upon review of

Mr. Ek’s Declaration, the Court finds that Spotify has established that Plaintiffs’ taking of Mr.

Ek’s deposition would likely cause him to be annoyed. As Mr. Ek has disclaimed personal

knowledge of many relevant topics, the Court finds that some burden would be imposed by

allowing Plaintiffs to depose him for the full time permitted. As previously mentioned, Plaintiffs

have offered to take the deposition in “less than a full day,” or “three to four hours.” In

recognition of the potential for burden, the Court will further limit the deposition as further

discussed below.

       4. Specific Facts Showing Clearly Defined and Serious Injury

       As set forth above, a court may issue a protective order to shield a party or person from

an enumerated list of harms, including annoyance. Fed. R. Civ. P. 26(c)(1). But, the court must

find that there is good cause for the protective order, which must be demonstrated by “specific

facts showing ‘clearly defined and serious injury’ resulting from the discovery sought,” rather

than conclusory statements. Serrano, 699 F.3d at 901; Nix, 11 F. App’x at 500. The Court finds

that Spotify has not made such a showing. There is not even an allusion to any serious injury

likely to be the consequence of Mr. Ek’s deposition, much less specific facts to support such a

finding. See Docket Nos. 222, 228.




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                                      III. CONCLUSION

       For the foregoing reasons, Spotify’s Motion (Docket No. 221) is DENIED. In

recognition of the fact that Mr. Ek has denied having personal knowledge of many areas of

potential inquiry, and to minimize the likely annoyance to Mr. Ek and the disruption of his

schedule, Plaintiffs may take the deposition of Mr. Ek by remote means only for a maximum of

three hours.



                                             IT IS SO ORDERED.




                                             ___________________________________
                                             Jeffery S. Frensley
                                             United States Magistrate Judge




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